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AO 440 (Rev. 06/12) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                  Northern District of California

                                                 )
                                                 )
WHATSAPP INC., a Delaware corporation, and       )
FACEBOOK, INC., a Delaware corporation,          )
                   Plaintiff(s)
                                                 )
                                                 )
                       v.                            Civil Action No.
                                                 )
                                                 )
                                                 )
NSO GROUP TECHNOLOGIES LIMITED and               )
Q CYBER TECHNOLOGIES LIMITED,                    )
                  Defendant(s)                   )
                                                 )
                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)

NSO Group Technologies Limited, 22 Galgalei Haplada, Hertsliya, Israel 4672222
Q Cyber Technologies Limited, 22 Galgalei Haplada, Hertsliya, Israel 4672222



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:

COOLEY LLP
Travis LeBlanc (251097)
101 California Street
5th Floor
San Francisco, CA 94111


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                         CLERK OF COURT


Date:
                                                                                    Signature of Clerk or Deputy Clerk



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